 1                                                 THE HONORABLE RICARDO S. MARTINEZ
                                                      NOTING DATE: Thursday, March 20,2025
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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
10    JOSEPH SANT, MERTON CHUN,
      RONESHA SMITH, and HEATHER                       CAUSE NO. 2:24-cv-1626
11    NICASTRO, individually and on behalf of
      all others similarly situated,                   [PROPOSED] ORDER GRANTING
12                                                     DEFENDANT ROCKETREACH LLC’S
                           Plaintiffs,                 MOTION TO STRIKE CLASS
13                 v.                                  ALLEGATIONS
      ROCKETREACH LLC,
14
                           Defendant.
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16          Before the Court is Defendant RocketReach LLC’s Motion to Strike Class Allegations

17   pursuant to Federal Rules of Civil Procedure 12 and 23. For the reasons set forth in Defendant’s

18   Motion, the Motion to Strike is hereby GRANTED.

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            DATED this 27th day of December, 2024.
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21                                                __________________________________
                                                  RICARDO S. MARTINEZ
22                                                UNITED STATES DISTRICT JUDGE
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25   [PROPOSED] ORDER GRANTING DEFENDANT                              WILSON, ELSER, MOSKOWITZ,
                                                                        EDELMAN & DICKER LLP
     ROCKETREACH LLC’S MOTION TO COMPEL
26                                                                       520 PIKE STREET, SUITE 2350
     ARBITRATION AND STAY PROCEEDINGS – 1                                    SEATTLE, WA 98101
     2:24-cv-1626                                                          (206) 709-5900 (MAIN)
                                                                            (206) 709-5901 (FAX)
 1         Presented by:

 2       WILSON, ELSER, MOSKOWITZ,
         EDELMAN & DICKER LLP
 3

 4   By: s/ Patrick Lynch
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        Attorneys for Defendant
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25   [PROPOSED] ORDER GRANTING DEFENDANT    WILSON, ELSER, MOSKOWITZ,
                                              EDELMAN & DICKER LLP
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     ARBITRATION AND STAY PROCEEDINGS – 2          SEATTLE, WA 98101
     2:24-cv-1626                                (206) 709-5900 (MAIN)
                                                  (206) 709-5901 (FAX)
 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies that on December 27, 2024, a true and correct copy of the
     foregoing was served on the attorneys of record listed below, via the method indicated:
 3
            Counsel for Plaintiffs                        U.S. Mail
 4
            Nick Major, WSBA #49579                      ☐ Hand Delivery
            NICK MAJOR LAW                               ☐ Facsimile
 5          450 Alaskan Way S, #200                      ☐ Overnight
            Seattle, WA 98104
                                                          E-mail
 6          Nick@nickmajorlaw.com
                                                          E-Service via Court Application
                                                         ☐ Messenger
 7          Tyler K. Somes, Pro Hac Vice
            HEDIN LLP
            1100 15th St NW, Ste. 04-108
 8          Washington, D.C. 20005
            tsomes@hedinllp.com
 9

10
            I certify under the penalty of perjury under the laws of the State of Washington that the
11   foregoing is true and correct.

12          DATED this 27th day of December, 2024, at Seattle, Washington.

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14                                                /s/J. Y’honatan Frakes
                                                  J. Y’honatan Frakes, Legal Assistant
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25   [PROPOSED] ORDER GRANTING DEFENDANT                                WILSON, ELSER, MOSKOWITZ,
                                                                          EDELMAN & DICKER LLP
     ROCKETREACH LLC’S MOTION TO COMPEL
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     ARBITRATION AND STAY PROCEEDINGS – 3                                      SEATTLE, WA 98101
     2:24-cv-1626                                                            (206) 709-5900 (MAIN)
                                                                              (206) 709-5901 (FAX)
